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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 NORMAN PETE                                                   CIVIL ACTION
 VERSUS                                                        NO. 22-240
 TRAVIS DAY, WARDEN                                            SECTION “E”(4)

                                       ORDER

       The Court, having considered the complaint, the record, the applicable law, the

United States Magistrate Judge’s Report and Recommendation, and the failure of any

party to file an objection to the Magistrate Judge’s Report and Recommendation, hereby

approves the Magistrate Judge’s Report and Recommendation and adopts it as its opinion

in this matter.

       Accordingly;

       IT IS ORDERED that Norman Pete’s petition for issuance of a writ of habeas

corpus filed pursuant to 28 U.S.C. § 2254 is DISMISSED WITHOUT PREJUDICE for

lack of jurisdiction and failure to establish authorization to proceed with a second or

successive petition.

       New Orleans, Louisiana, this 7th day of October, 2022.



                                            _________________________ ______
                                                    SUSIE MORGAN
                                            UNITED STATES DISTRICT JUDGE
